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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    MARTHA SOLIS KLIGMAN,                   Case No. CV 20-10535-GW-KSx

  12                       Plaintiff,

  13          v.                                  ORDER TO DISMISS WITH
                                                  PREJUDICE
  14    UNITED STATES OF AMERICA,
  15                       Defendant.
  16

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             Based upon the stipulation between the parties and their respective counsel,
  19
       it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
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       Each party will bear its own attorneys’ fees and expenses.
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             IT IS SO ORDERED.
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  23 Dated: October 19, 2021

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                                             _________________________________
  25                                         HON. GEORGE H. WU,
  26                                         UNITED STATES DISTRICT JUDGE
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